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        EXHIBIT A
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Electronically FILED by Su   or Court of California, County of Los Angeles on 08/12/2019 01:05 PM Sherri R. Carter. Executive Officer/Clerk of Court, by R. CliftonDeputy Clerk
                                                                                      195TCV28436
                                       Assigned for all purposes to: Stanley Mosk Courthouse. Judicial Officer. Robed 6roadbelt




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                       6
                              Attorneys for Plaintiff ANNETTE CARRILLO

                       8                                SUPERIOR COURT OF THE STATE OF CALIFORNIA


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        C-)          11 ANNETTE CARRILLO,                                                                  Case No.:

                     12                              Plaintiff,                                            Hon.
                     13                                                                                    Dept.
                                     VS.                                     -



                     14
                              FICA US, LLC; CERRITOS DODGE                                                 COMPLAINT FOR VIOLATION OF
                     15       CHRYSLER JEEP; and DOES I through 10,                                        STATUTORY OBLIGATIONS
                              inclusive,
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                     17                           Defendants.                                              JURY TRIAL DEMANDED
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                    Plaintiff alleges as follows:

         2                                              PARTIES

         3          1.     As used in this Complaint, the word "Plaintiff' shall refer to Plaintiff

         4   ANNETTE CARRILLO.

         5          2.     Plaintiff is a resident of Los Angeles County, California.

         6          3.     As used in this complaint, the word "Defendant" shall refer to all Defendants

         7   named in this Complaint, unless otherwise specified.

         8          4.     Defendant FCA US, LLC ("Defendant FCA") is a corporation organized and in

             existence under_th_js_QLthe_Stateof_Delaware_and_registered_w.ith_the_çalifornia_
                                e

        10   Department of Corporations to conduct business in California. At all times relevant herein,

C-)          Defendant was engaged in the business of designing, manufacturing, constructing,

        12   assembling, marketing, distributing, and selling automobiles and other motor vehicles and

        13   motor vehicle components in Los Angeles County.

        14          5.     Defendant CERRITOS DODGE CHRYSLER JEEP ("Defendant Cerritos") is

        IS   an unknown business entity organized and in existence under the laws of the State of

        16   California. At all times relevant herein, Defendant was engaged in the business of selling

        '7   automobiles and automobile components, and servicing and repairing automobiles in Los

        18   Angeles County.

        19          6.     Plaintiff is ignorant of the true names and capacities of the Defendants sued

        20   under the fictitious names DOES I to 10. They are sued pursuant to Code of Civil Procedure

        21   section 474. When Plaintiff becomes aware of the true names and capacities of the

        22 I Defendants sued as DOES I to 10, Plaintiff will amend this Complaint to state their true

        23   names and capacities.

        24                                          FIRST CAUSE OF ACTION

        25                             BY PLAINTIFF AGAINST DEFENDANT FCA

        26               VIOLATION OF SUBDIVISION (0) OF CIVIL CODE SECTION 1793.2

        27          7.     On or about July 3, 2016 Plaintiff purchased a 2016 Jeep Patriot vehicle

        28    identification number lC4NJPBBlGD739584, (hereafter "Vehicle"), from Defendant Cerritos,



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         1   which was manufactured and or distributed by Defendant FCA. The Vehicle was purchased

         2   or used primarily for personal, family, or household purposes. Plaintiff purchased the Vehicle

         3   from a person or entity engaged in the business of manufacturing, distributing, or selling

         4   consumer goods at retail.

         5         8.      In connection with the purchase, Plaintiff received an express written warranty,

         6   including a 3 year/36,000 miles bumper to bumper warranty and a 5 year/60,000 miles

         7   powertrain warranty, which covers the engine and transmission. Defendant undertook to

         8   preserve or maintain the utility or performance of the Vehicle or to provide compensation if

         9   there is a failure in utility or performance for aspecified period of time. The warranty

        10   provided, in relevant part, that in the event a defect developed with the Vehicle during the

C-,     II   warranty period, Plaintiff could deliver the Vehicle for repair services to Defendants

             representative and the Vehicle would be repaired.



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        13                 During the warranty period, the Vehicle contained or developed defects,

        14   including but not limited to, defects causing a whistling noise from the brakes; defects causing

        15   a squeaking noise from the brakes; defects causing the driver's side power windows to be

        16   inoperable; defects requiring a cleaning and adjusting of brake drums; defects causing




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             premature brake wear; electrical defects; defects causing the failure and/or replacement of the

             rear brake shoes and/or drums; defects causing a humming sound from the brakes; defects

             causing a buzzing/rattle sound from the brakes; defects causing the illumination of the check

        20   engine light ("CEL"); defects causing storage of Diagnostic Trouble Code ("DTC") P0456;

        21   defects causing the failure and/or replacement of the brake shoes; and/or any other defects

        22   described in the Vehicle's repair history. Said defects substantially impair the use, value, or

        23   safety of the Vehicle.

        24                  Plaintiff suffered damages in a sum to be proven at trial in an amount that is not

        25   less than $25,001.00.

        26                  Defendant and its representatives in this state have been unable to service or

        27   repair the Vehicle to conform to the applicable express warranties after a reasonable number

        28   of opportunities. Despite this fact, Defendant failed to promptly replace the Vehicle or make



                                         COMPLAINT; JURY TRIAL DEMANDED
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         1        restitution to Plaintiff as required by Civil Code section 1793.2, subdivision (d) and Civil

         2        Code section 1793.1, subdivision (a)(2).

         3               12.      Plaintiff has been damaged by Defendant's failure to comply with its

         4        obligations pursuant to Civil Code section 1793.2, subdivision (d) and Civil Code section

         5        1793. 1, subdivision (a)(2), and therefore brings this cause of action pursuant to Civil Code

         6   II   section 1794.

         7               13.      Defendant's failure to comply with its obligations under Civil Code section

         8        1793.2, subdivision (d) was willful, in that Defendant and its representative were aware that



        10        warranties after a reasonable number of repair attempts, yet Defendant failed and refused to

C-,               promptly replace the Vehicle or make restitution. Accordingly, Plaintiff is entitled to a civil

        12        penalty of two times Plaintiff's actual damages pursuant to Civil Code section 1794,

        13        subdivision (c).

        14               14.      Defendant does not maintain a qualified third-party dispute resolution process

        15        which substantially complies with Civil Code section 1793.22. Accordingly, Plaintiff is
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        16        entitled to a civil penalty of two times Plaintiffs actual damages pursuant to Civil Code
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        17        section 1794, subdivision (e).


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                         15.      Plaintiff seeks civil penalties pursuant to section 1794, subdivisions (c), and (e)

                  in the alternative and does not seek to cumulate civil penalties, as provided in Civil Code

        20        section 1794, subdivision (f).

        21                                         SECOND CAUSE OF ACTION

        22                               BY PLAINTIFF AGAINST DEFENDANT FCA

        23                VIOLATION OF SUBDIVISION (B) OF CIVIL CODE SECTION 1793.2

        24               16.      Plaintiff incorporates by reference the allegations contained in the paragraphs

        25        set forth above.

        26               17.      Although Plaintiff presented the Vehicle to Defendant's representative in this

        27        state, Defendant and its representative failed to commence the service or repairs within a

        28        reasonable time and failed to service or repair the Vehicle so as to conform to the applicable



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        1   warranties within 30 days, in violation of Civil Code section 1793.2, subdivision (b). Plaintiff
        2   did not extend the time for completion of repairs beyond the 30-day requirement.

        3                  Plaintiff has been damaged by Defendant's failure to comply with its
        4   obligations pursuant to Civil Code section 1793.2(b), and therefore brings this Cause of

        5   Action pursuant to Civil Code section 1794.

        6                  Plaintiff has rightfully rejected and/or justifiably revoked acceptance of the

        7   Vehicle, and has exercised a right to cancel the purchase. By serving this Complaint, Plaintiff

        8   does so again. Accordingly, Plaintiff seeks the remedies provided in California Civil Code

        9   section 1794(b)( 1),. including the entire contract price. In the alternative, Plaintiff seeks the

       10   remedies set forth in California Civil Code section 1794(b)(2), including the diminution in

0      11   value of the Vehicle resulting from its defects. Plaintiff believes that, at the present time, the




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       12   Vehicle's value is de minimis.

       13                  Defendant's failure to comply with its obligations under Civil Code section

       14   1793.2(b) was willful, in that Defendant and its representative were aware that they were

       15   obligated to service or repair the Vehicle to conform to the applicable express warranties

o      16   within 30 days, yet they failed to do so. Accordingly, Plaintiff is entitled to a civil penalty of
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       17   two times Plaintiffs actual damages pursuant to Civil Code section 1794(c).

       18                                    THIRD CAUSE OF ACTION
       19                          BY PLAINTIFF AGAINST DEFENDANT FCA

       20          VIOLATION OF SUBDIVISION (A)(3) OF CIVIL CODE SECTION 1793.2
       21                  Plaintiff incorporates by reference the allegations contained in paragraphs set

       22   forth above.

       23                  In violation of Civil Code section 1793.2, subdivision (a)(3), Defendant failed

       24   to make available to its authorized service and repair facilities sufficient service literature and

       25   replacement parts to effect repairs during the express warranty period. Plaintiff has been

       26   damaged by Defendant's failure to comply with its obligations pursuant to Civil Code section

       27   1793.2(a)(3), and therefore brings this Cause of Action pursuant to Civil Code section 1794.

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                    23.     Defendants failure to comply with its obligations under Civil Code section

         2   1793.2, subdivision (a)(3) was wilful, in that Defendant knew of its obligation to provide

         3   literature and replacement parts sufficient to allow its repair facilities to effect repairs during

         4   the warranty period, yet Defendant failed to take any action to correct its failure to comply

         5   with the law. Accordingly, Plaintiff is entitled to a civil penalty of two times Plaintiffs actual

         6   damages; pursuant to Civil Code section 1794(c).

         7                                   FOURTH CAUSE OF ACTION

         8                          BY PLAINTIFF AGAINST DEFENDANT FCA



        10                             (CIV. CODE, § 1791.2, SUBD. (a); § 1794)

C-)     11          24.     Plaintiff incorporates by reference the allegations contained in paragraphs set

        12   forth above.

        13          25.     In accordance with Defendant's warranty, Plaintiff delivered the Vehicle to

        14   Defendant's representative in this state to perform warranty repairs. Plaintiff did so within a

        15   reasonable time. Each time Plaintiff delivered the Vehicle, Plaintiff notified Defendant and its

        16   representative of the characteristics of the Defects. Hovever, the representative failed to

        17   repair the Vehicle, breaching the terms of the written warranty on each occasion.

        18          26.     Plaintiff has been damaged by Defendant's failure to comply with its
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        19   obligations under the express warranty, and therefore brings this Cause of Action pursuant to

        20   Civil Code section 1794.

        21          27.     Defendant's failure to comply with its obligations under the express warranty

        22   was willful, in that Defendant and its authorized representative were aware that they were

        23   obligated to repair the Defects, but they intentionally refused to do so. Accordingly, Plaintiff

        24   is entitled to a civil penalty of two times of Plaintiffs actual damages pursuant to Civil Code

        25   section 1 794(c).

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                                                   FIFTH CAUSE OF ACTION

        2                                  BY PLAINTIFF AGAINST DEFENDANTS

        3                    BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY

        4                                    (CIV. CODE, § 1791.1; § 1794; § 1795.5)

        5              28.    Plaintiff incorporates by reference the allegations contained in the paragraphs

        6 I set forth above.

        7              29.    Pursuant to Civil Code section 1792, the sale of the Vehicle was accompanied

        8    by Defendant's implied warranty of merchantability. Pursuant to Civil Code section 1791.1,

                                  implied-warranty-is coextensive-in.duration-with-the

       10    written warranty provided by Defendant, except that the duration is not to exceed one-year.

o                             Pursuant to Civil Code section 1791.1(a), the implied warranty of

       12    merchantability means and includes that the Vehicle will comply with each of the following

       13    requirements: (1) The Vehicle will pass without objection in the trade under the contract

       14    description; (2)Th Vehicle is-fit fortheordinarypurposes-for_which-such-goods-are-usedy(-3)

       15    The Vehicle is adequately contained, packaged, and labelled; (4) The Vehicle will conform to

       16    the promises or affirmations of fact made on the container or label.
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       '7                     At the time of purchase, or within one-year thereafter, the Vehicle contained or
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       18    developed the defects set forth above. The existence of each of these defects constitutes a
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       19    breach of the implied warranty because the Vehicle (I) does not pass without objection in the

       20    trade under the contract description, (2) is not lit for the ordinary purposes for which such

       21    goods are used, (3) is not adequately contained, packaged, and labelled, and (4) does not

       22    conform to the promises or affirmations of fact made on the container or label.

       23                     Plaintiff has been damaged by Defendant's failure to comply with its

       24    obligations under the implied warranty, and therefore brings this Cause of Action pursuant to

       25    Civil Code section 1794.

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                                           COMPLAINT; JURY TRIAL DEMANDED
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        2         PLAINTIFF PRAYS forjudgment against Defendant as follows:

        3                        For Plaintiff's actual damages in an amount according to proof

       .4                        For restitution;

        5                        For a civil penalty in the amount of two times Plaintiff's actual damages

        6                        pursuant to Civil Code section 1794, subdivision (c) or (e);

        7                        For any consequential and incidental damages;

        8                        For costs of the suit and Plaintiff's reasonable attorneys' fees pursuant

        9       __jpCiyil.CodesectionJ794,.subdi.vision-(d);                                -           --




       10                        For prejudgment interest at the legal rate; and

0      Ii                        For such other relief as the Court may deem proper.

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       13                                 DEMAND FOR JURY TRIAL

       14         Plaintiff hereby demands a jury trial on all causes of action asserted.herein.

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       16   Dated: August 12, 2019                        STRATEGIC LEGAL PRACTICES, APC

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                                                            Tionna Dolin
       20                                                   Attorney for Plaintiff
                                                            ANNETTE CAR.RILLO
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                                       COMPLAINT; JURY TRIAL DEMANDED
